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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

FIRST ASSOCIATES LOAN SERVICING
LLC d/b/a PEAKS PRIVATE STUDENT
LOANS,

          Defendant/Third-Party Plaintiff,

v.                                                  Case No.: 8:14-cv-363-MSS-MAP

DANIEL CRUZ,

     Third-Party Defendant.
_____________________________________/

                                            ORDER

          THIS CAUSE comes before the Court for consideration of Third-Party Defendant

Daniel Cruz’s Motion to Compel Arbitration and to Stay Proceedings (Dkt. 11) and all

responses and replies thereto. Upon consideration of all relevant filings, case law, and

being otherwise fully advised, the Court GRANTS Cruz’s motion, as described herein.

     I.      Background

          Cruz initially filed this action against Defendant/Third-Party Plaintiff, First

Associates Loan Servicing (“First Associates”), on February 11, 2014. In his Complaint,

Cruz alleged that First Associated violated the Telephone Consumer Protection Act by

repeatedly calling his cell phone without permission in an attempt to recover a debt. (Dkt.

1) On February 28, 2014, First Associates filed an Answer, Affirmative Defenses and

Third-Party Complaint. (Dkt. 7)

          In the Third-Party Complaint, First Associates alleges that Daniel Cruz entered into

a contract with Liberty Bank, N.A. for a private student loan. (Dkt. 7 at ¶¶ 6, 7) First

Associates services the loan on Liberty Bank’s behalf. (Id. at ¶ 9) First Associates claims
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Cruz consented to be contacted by phone or email for communications related to the loan

by virtue of the representations in Paragraph K.3 of the contract, a provision

acknowledging that consent. (Id. at ¶ 11) First Associates thus asserts claims for

Negligent Misrepresentation, Fraudulent Misrepresentation, and Indemnification against

Cruz, based on its contention that, inter alia, “Daniel Cruz intended for Liberty Bank, N.A.,

and its agents and/or assigns, including First Associates to rely on the Representation.”

(Id. at ¶¶ 22, 33). First Associates attached the contract to its Third-Party Complaint. (Id.

at Ex. A)

         Cruz now moves the court to compel the parties to arbitrate this dispute pursuant

to the Federal Arbitration Act and the Arbitration Agreement contained in Paragraph N of

the contract.

   II.       Discussion

          Whether a dispute is subject to arbitration, under the Federal Arbitration Act and

Florida law, depends on (1) whether a valid arbitration agreement exists; (2) whether an

arbitrable issue exists; and (3) whether the right to arbitration has been waived. Granite

Rock Co. v. Int’l Bros. of Teamsters, 130 S. Ct. 2847, 2856-57 (2010); Laizure v. Avante

at Leesburg, Inc., 44 So. 2d 1254, 1257 (Fla. 5th DCA 2010).

          Cruz argues that because First Associates relies on the contract as the basis for

its claims against him, it is bound by the contract’s Arbitration Agreement. That provision

states:

                Except as expressly provided below, I agree that any claim, dispute
                or controversy arising out of or that is related to (a) my Loan, my
                Application, this Loan Agreement (including without limitation, any
                dispute over the validity of this arbitration provision), my Approval
                Disclosure Statement, my acceptance, or my Final Disclosure
                Statement or (b) any relationship resulting from my Loan, or any
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              activities in connection with my Loan, or (c) the disclosures provided
              or required to be provided in connection with my Loan (including,
              without limitation, the Approval Disclosure Statement and the Final
              Disclosure Statement), or the underwriting, servicing, or collection of
              my Loan, or (d) any insurance or other service related to my Loan,
              or (e) any other agreement related to my Loan or any such service,
              or (f) breach of this Loan Agreement or any other such agreement,
              whether based on statute, contract, tort or any other legal theory (any
              “Claim”) shall be, at my or your election, submitted to and resolved
              on an individual basis by binding arbitration under the Federal
              Arbitration Act before the American Arbitration Association (AAA)
              under its Commercial Arbitration Rules including the Supplementary
              Procedures for Consumer Related Disputes, in effect at the time the
              arbitration is brought. For purposes of this Paragraph N, the terms
              “you,” “your,” “yours” and “Lender” include the Lender, its officers,
              directors, and employees, and its affiliates, subsidiaries, and parents,
              and any officers, directors, and employees of such entities.

(Dkt. 7-1 at 4) (emphasis added).

       Cruz argues that even if First Associates is not a signatory to the contract, it is

bound to arbitrate this dispute, both by the terms of the Arbitration Agreement, as well as

principles of agency, assignment, and estoppel. First Associates argues that none of

these legal theories apply and that Cruz has failed to show that claims brought by or

against First Associates fall within the scope of the Arbitration Agreement.

       First Associates’ arguments are unavailing. Arbitration may be compelled by or

against non-signatories to an arbitration agreement if traditional principles of state law

would allow the contract to be enforced by or against the non-signatories.               Arthur

Andersen LLP v. Carlisle, ––– U.S. ––– ,129 S. Ct. 1896, 1901–03, 173 L.Ed.2d 832

(2009). Under Florida law, “[n]on-signatories may be bound by an arbitration agreement

if dictated by ordinary principles of contract law and agency.” Martha A. Gottfried, Inc. v.

Paulette Koch Real Estate, Inc., 778 So. 2d 1090 (Fla. 4th DCA 2001). A party’s assignee

may be bound by a contractual arbitration provision. Kong v. Allied Professional Ins. Co.,
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750 F.3d 1295, 1302 (11th Cir. 2014) (citing Cone Constructors, Inc. v. Drummond

Community Bank, 754 So. 2d 779 (Fla. 1st DCA 2000)). Non-signatories also can be

bound to arbitration by principles of equitable estoppel. BDO Seidman, LLP v. Bee, 970

So. 2d 869, 874-75 (Fla. 4th DCA 2008).

       The Court finds each of these principles applicable in this case because it is

axiomatic that “[a] party may not rely on a contract to establish his claims while avoiding

his obligation under the contract to arbitrate such claims.” Id. at 875. Accordingly, “if a

party relies on the terms of a written agreement in asserting the party’s claims, that party

is equitably estopped from then seeking to avoid an arbitration clause within the

agreement.” Ehlen Floor Covering, Inc. v. Lamb, 2010 WL 2813369, *2 (M.D. Fla. Jul.

14, 2010) (quoting Becker v. Davis, 491 F.3d 1292, 1300 (11th Cir.2007)).

       Here, there can be no doubt that First Associates relies on the terms of the

contract.   It its Complaint, First Associates alleges it is entitled to rely upon Cruz’s

representation in the contract by virtue of the fact that it is one of Liberty Bank’s agents

and/or assigns. First Associates attached the contract to the Complaint and points to

Paragraph K.3 as its justification for calling Cruz on his cellular telephone. That contract

expressly provides that at either party’s election any claim, dispute or controversy arising

out of or that is related to this Loan Agreement “shall be . . . submitted to and resolved on

an individual basis by binding arbitration under the Federal Arbitration Act before the

American Arbitration Association (AAA) . . . .” (Dkt. 7-1 at 4) Having chosen to rely upon

the contract for the purpose of asserting its claims against Cruz, First Associates cannot

now disclaim its obligation to arbitrate this dispute pursuant to the terms of the contract.
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      III.      Conclusion

      Upon consideration of the foregoing, it is hereby ORDERED as follows:

      1. Third-Party Defendant’s Motion to Compel Arbitration and to Stay Proceedings

             (Dkt. 11) is GRANTED. The parties are ORDERED to arbitrate all claims at

             issue in this action.

      2. The case is STAYED pending completion of arbitration.

      3. The       Clerk    is   directed   to   TERMINATE   any   pending   motions   and

             ADMINISTRATIVELY CLOSE this case.

      4. The parties shall have fourteen (14) days after completion of arbitration to file

             a Notice or appropriate Motion advising the Court how and whether this case

             should proceed.

      DONE and ORDERED in Tampa, Florida, this 11th day of September 2014.




Copies furnished to:
All Counsel of Record
All Pro Se parties
